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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                 4:04CR3128
          v.                        )
                                    )
MARK R. SCHNEIDER,                  )
                                    )                    ORDER
                Defendant.          )
                                    )



     Substitute counsel has now been appointed and entered an
appearance in this case.

     IT THEREFORE HEREBY IS ORDERED,

     1. Trial of this matter is set to commence at 9:00 a.m.,
December 12, 2005, for a duration of four trial days before the
Honorable Richard G. Kopf in Courtroom 1, United States
Courthouse and Federal Building, 100 Centennial Mall North,
Lincoln, Nebraska. Jury selection will be held at commencement
of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
September 10, 2005 and October 10, 2005 shall be deemed
excludable time in any computation of time under the requirements
of the Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 28th day of October, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
